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                                UM TED STATES D ISTW CT C O URT
                                SO UTH ERN D ISTRIC T O F FLO RIDA

                                    CASE N O .19-20186-CR-K M W

   UNITED STATES O F A M ERICA

   V.

   M A RIA TERESA G O NIM A OLLA GA ,

                            Defendant.


                                         PLEA AG REEM EN T

          TheUnitedStatesAttorney'sOfficefortheSouthern DistrictofFlorida(ûûthisOft5ce''land
   M ARIA TERESA GONIM A OLLAGA (hereinafterreferredtoastheçûdefendanf')enterintothe
   follow ing agreem ent'
                        .

                 Pleading G/z//l
                               .pt
                                 oCount2oftheIndictment. Thedefendantagreestopleadguilty
   toCount2 oftheIndictment,aviolationofTitlel8,United StatesCode,Section 1956(h),thatis,
   operating a m oney laundering conspiracy to furthera prostitution enterprise.

                 Sentencing Guidelines. Thedefendantisaw arethatthe sentence w illbeim posed by

   the Court after consideration of the Federal Sentencing Guidelines and Policy Statem ents

   (hereinafter,thelûsentencingGuidelines''). Thedefendantacknowledgesandunderstandsthatthe
   Courtw illcom pute an advisory sentence underthe Sentencing Guidelines and thatthe applicable

   guidelines w ill be determ ined by the Court relying in part on the results of a Pre-sentence

   lnvestigation by the U nited States Probation Office,which investigation willcom m ence afterthe

   guilty plea has been entered. The defendant is also aw are that,under certain circum stances,the

   Courtm ay departfrom the advisory sentencing guideline range thatithascom puted,and m ay raise

   orlowerthatadvisory sentence underthe Sentencing Guidelines. The defendantis furtheraw are
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   and understandsthatthe Courtisrequired to considerthe advisory guideline range detenmined under

   the Sentencing Guidelines,butisnotbound to im pose thatsentence;the Courtisperm itted to tailor

   the ultim ate sentence in light ofother statutory concerns,and such sentence m ay be eitherm ore

   severe orless severe than the Sentencing Guidelines'advisory sentence. K now ing these facts,the

   defendantunderstands and acknow ledges thatthe Courthas the authority to im pose any sentence

   within and up to the statutory m axim um authorized by law forthe offense identified in paragraph 1

   and thatthe defendantm ay notwithdraw herplea solely asa resultofthe sentence imposed.

                 Penalties. The defendantunderstandsand acknowledges that,pursuantto Title l8,

   UnitedStatesCode,Section 1956(a)(1)(A)(i),theCourtmayimposeastatutorymaximum tel'm of
   imprisonmentofuptotwenty(20)yearsforCount2. lnaddition,pursuanttoTitlel8,UnitedStates
   Code,Section 3583(a)(b)(2),theCourtmayimpose aterm ofup tothree (3)yearsofsupervised
   release forCount2,follow ing a term of im prisonm ent;pursuant to Title l8,United States Code,

   Section l956(a)(1),a fine ofup to five hundred thousand dollars ($500,000);and an order of
   restitution. There isno m andator.vm inim um term ofim prisonm entforCount2.

                 SpecialAssessmentFee. Thedefendantfurtherunderstandsand acknowledgesthat,

   in addition to any sentence im posed underparagraph 3 ofthisagreem ent,a specialassessm entin the

   am ountof$100willbeimposed on thedefendantforeach countto which sheispleading guilty.

          5.     ThisOfficereservestherightto inform theCourtandtheprobation officeofallfacts

   pertinent to the sentencing process, including all relevant inform ation concerning the offenses

   com m itted, whether charged or not, as w ell as concerning the defendant and the defendant's

   background. Subjectonlytotheexpresstermsofanyagreed-upon sentencing recommendations
   contained in thisagreem ent,this Office furtherreservesthe rightto m ake any recom m endation asto

   thequality and quantity ofpunishm ent.
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                 Earl
                    yAcceptanceofResponsibility. TheUnitedStatesagreesthatitwillrecommend
   atsentencing thatthe Courtreduce by two levels the sentencing guideline levelapplicable to the

   defendant'soffense,pursuantto Section 3El.l(a)ofthe Sentencing Guidelines,based upon the
   defendant's recognition and affirm ative and tim ely acceptance ofpersonalresponsibility. lfatthe

   tim e of sentencing the defendant's offense levelisdeterm ined to be 16 orgreater,the governm ent

   willmakeamotionrequestinganadditionalone-leveldecreasepursuantto Section3E1.l(b)ofthe
   Sentencing Guidelines,stating that the defendant has assisted authorities in the investigation or

   prosecution ofherown m isconductby tim ely notifying authoritiesofherintention to entera plea of

   guilty,thereby perm ittingthegovernm entto avoid preparing fortrialand perm itting thegovernm ent

   and the Courtto allocate theirresourcesefficiently.

                 Recommendationls) by the Parties. The United States agrees to recom mend a
   sentence w ithin the defendant's sentencing guideline range. N othing in this agreem ent bars the

   Defendant from seeking a dow nward variance or departure from the sentencing guideline range.

   Further,thepartiesagreethat,underSection2G1.l(b)oftheSentencingGuidelinesManual,there
   is a specific offense characteristic enhancem ent if the offense involved fraud or coercion. The

   United Statesagreesthatitw illnotseek thatenhancem entw ith respectto thisdefendant.

                 Recomm endationsAreNotBinding on theCourt. Thedefendantfurtherunderstands

   and acknow ledges thatany recom m endation thatthe United States orthe defendantm akes to the

   Coul'tasto sentencing isnotbinding on theCourtand theCourtm ay disregard the recom m endation

   in its entirety. The defendantunderstands and acknow ledges,aspreviously acknowledged in this

   agreem ent,thatthe defendantm ay not withdraw her plea based upon the Court's decision notto

   accepta sentencing recom m endation m adeby the defendant,the govem m ent,ora recom m endation

   madejointlybyboththedefendantandthegovernment.
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          9.      Sentence willbe determ ined by the Court. The defendantisaw are thatthe sentence

   has not yet been determ ined by the Court.The defendant also is aw are that any estim ate of the

   probable sentencing range orsentencethatthe defendantm ay receive,whetherthatestim ate com es

   from thedefendant'sattorney,the governm ent,orthe probation office,isaprediction,notaprom ise,

   and is notbinding on the governm ent,the probation office or the Court. The defendant further

   understandsand acknow ledgesthatany recom m endation thatthe governm entm akesto the Courtas

   to sentencing,whetherpursuantto thisagreem entorotherw ise,is notbinding on the Courtand the

   Court m ay disregard the recom m endation in its entirety. The defendant understands and

   acknow ledges,aspreviously acknow ledged in thisagreement,thatthe defendantm ay notw ithdraw

   her plea based upon the Court's decision notto accepta sentencing recom m endation m ade by the

   defendant,the government,ora recommendation madejointly by both the defendantand the
   governm ent.

                  DepartureorVariancefrom theSentencingGuidelines. Thedefendantisawareand
   understands that,under certain circum stances,the Courtm ay departfrom the advisory sentencing

   guideline range that it has com puted,and m ay raise or low er that advisory sentence under the

   Sentencing Guidelines. The defendant isfurtheraw are and understandsthatthe Courtis required

   to consider the advisory guideline range determ ined under the Sentencing Guidelines,but is not

   bound to im pose thatsentence;the Courtisperm itted to tailorthe ultim ate sentence in lightofother

   statutory concerns,and such sentence m ay be eithermore severe orlesssevere than the Sentencing

   Guidelines'advisory sentence. Knowing these facts,the defendantunderstandsand acknow ledges

   thatthe Courthas the authority to im pose any sentence within and up to the statutory m axim um

   authorized by law forthe offensesidentified inparagraph 1and thatthedefendantm ay notw ithdraw

   the guilty plea solely asa resultofthe sentence im posed.
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                  Cooperation. The defendantagrees thatshe shallcooperate fully with this Oftice

   by:(a)providing truthfuland complete information and testimony,and producing documents,
   recordsand otherevidence,w hen called upon by thisO ffice,whether in interviews,before a grand

   jury,oratanytrialorotherCourtproceeding;(b)appearingatsuchgrandjuryproceedings,hearings,
   trials,andotherjudicialproceedings,andatmeetings,asmayberequiredbythisOffice;and(c)if
   requested by this Office,w orking in an undercoverrole underthe supervision of,and in com pliance

   w ith,law enforcem entofficersand agents. In addition,thedefendantagreesthatshew illnotprotect

   any person orentity through false inform ation orom ission,thatshe w illnotfalsely im plicate any

   person orentity,and thatshe w illnotcom m itany furthercrim es.

          l2.     This Office reselwes the rightto evaluate the nature and extent of the defendant's

   cooperation and to makethatcooperation,orlack thereof,known to the Courtatthe time of
   sentencing. lfinthesoleandunreviewablejudgmentofthisOfficethedefendant'scooperationis
   ofsuch quality and significance to the investigation orprosecution ofother crim inalm atters as to

   warrantthe Court'sdownward departure from the advisory sentencing range calculated underthe

   Sentencing G uidelinesand/orany applicable m inim um m andatory sentence,thisO ffice m ay m ake

   am otion priorto sentencing pursuantto Section 5K l.1ofthe Sentencing Guidelinesand/orTitle 18,

   UnitedStatesCode,Section35534$,orsubsequenttosentencingpursuanttoRule35oftheFederal
   Rules of Crim inal Procedure, inform ing the Courtthat the defendant has provided substantial

   assistanceand recom m endingthatthedefendant'ssentencebe reduced. Thedefendantunderstands

   and agrees,however,that nothing in this agreem entrequires this Office to t5le any such m otions,

   and thatthisO ffice'sassessm entofthe quality and significance ofthedefendant'scooperation shall

   be binding as itrelates to the appropriateness of this O ffice's filing or non-filing of a m otion to

   reduce sentence.
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                 The defendantunderstands and acknow ledges thatthe Courtis under no obligation

   to granta m otion forreduction ofsentence filed by this Office. In addition,the defendantfurther

   understands and acknow ledges thatthe Court is under no obligation of any type to reduce the

   defendant's sentence because ofthe defendant'scooperation.

          14. Folfeiture. ThedefendantalsoagreestoforfeittotheUnitedStates,voluntarilyand
   immediately,al1ofherrights,titleandinteresttoallassets,and/ortheirsubstitutes,whicharesubject
   toforfeiturepursuanttoTitle l8,United StatesCode,Sections981(a)(l)(C)and2428,asoutlined
   in pages lland 12 ofthe lndictm ent.

          l5.    Entire Agreement. This is the entire agreem ent and understanding betw een this

   Office and the defendant. There are no other agreem ents, prom ises, representations, or

   understandings.



                                             A RIAN A FAJA RDO O RSHAN
                                             UN ITED STATES A TTORN EY


   Date: ô7 J.,/ 2.1           By:
                                              AN ESSA SING H JO HAN NES
                                             A SSISTANT UN ITED STATES ATTORN EY



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